                   Case 2:10-cr-00168-DAD Document 67 Filed 08/02/10 Page 1 of 2


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      6   Attorney for Defendant
      7   KENNY LU
      8
      9               IN THE UNITED STATES OF DISTRICT COURT FOR THE
    10                            EASTERN DISTRICT OF CALIFORNIA
    11
    12    UNITED STATES OF AMERICA,
                                                           Case No.: 2:10-cr-168 JAM
    13                               Plaintiff,
    14                                                      WAIVER OF DEFENDANT
                         v.                                 KENNY LU
    15                                                      PERSONAL APPEARANCE
    16    TAC CHE,
          BOB AN,
    17    CUONG HOANG,
    18    LIEN TRUONG,
          KENNY LU,
    19    JULIA SAECHAO, and
    20    VINH HOANG,

    21                   Defendants.
    22
    23           Defendant Kenny Lu hereby waives the right to be present in person in open court upon
    24    the hearing of any motion or other proceeding in this cause, including, but not limited to, when
    25    the case is ordered set for trial, when a continuance is ordered, and when any other action is

    26    taken by the court before or after hearing, except upon arraignment, plea, trial confirmation

    27    hearing, impanelment of jury, during trial, and imposition of sentence.       Defendant hereby

    28    requests the court to proceed during every absence of his which the court may permit pursuant to
          this waiver; agrees that her interests will be deemed represented at all times by the presence of


                                                    -1-
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                   Case 2:10-cr-00168-DAD Document 67 Filed 08/02/10 Page 2 of 2


      1   his attorney, the same as if defendant were personally present; and further agrees to be present in
      2   court ready for hearing any day and hour the court may fix in his absence.

      3          Defendant further acknowledges that he has been informed of his rights under Title 18

      4   U.S.C. §§ 3161-3171 (Speedy Trial Act), and authorizes his attorney to set times and delays

      5   under the Act without defendant being present.

      6
      7
      8
      9   DATED: 5/12/2010

    10                                                         By:    /s/ Kenny Lu
                                                                      ____________________________
    11                                                                KENNY LU
                                                                      Defendant
    12
                                                                      (Original on file in Attorney’s
    13                                                                Office)

    14
          DATED: _________________
    15
                                                               By     /s/ David D. Fischer
    16                                                                ____________________________
    17                                                                DAVID D. FISCHER
                                                                      Attorney for Defendant
    18                                                                KENNY LU
    19
    20
    21
          IT IS SO ORDERED
    22
    23
          Dated: August 2, 2010                                /s/ John A. Mendez_______
    24                                                         HON. JOHN A. MENDEZ
    25                                                         U.S. DISTRICT JUDGE

    26
    27
    28



                                                     -2-
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